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AO 91 (Rev. 11/11) Criminal Complaint
                                                                                                                        Apr 08 2021

                                     UNITED STATES DISTRICT COURT                                             SUSANY. SOONG
                                                                for the                                  CLERK, U.S. DISTRICT COURT
                                                                                                      NORTHERN DISTRICT OF CALIFORNIA
                                                    Northern District
                                                  __________  DistrictofofCalifornia
                                                                           __________                          SAN FRANCISCO

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No. 3-21-mj-70587 MAG
                                                                   )
                MARK DAVID ANDERSON                                )
                                                                   )
                                                                   )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  November 7, 2020              in the county of           San Francisco                in the
     Northern          District of            California       , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. § 2113(a), (d)                        Maximum 25 years’ imprisonment
                                                Maximum $250,000 fine. 
                                                Maximum 5 years supervised release
                                                $100 special assessment
                                                Forfeiture




         This criminal complaint is based on these facts:
See atached affidavit of FBI SA Jeffrey Kim.




         ✔ Continued on the attached sheet.
         ’

                                                                                                     /s/
                                                                                              Complainant’s signature
         Approved as to form _______________
                                                                                              FBI SA Jeffrey Kim
              AUSA _Alexis James_________
                                                                                               Printed name and title

Sworn to before me by telephone.


Date:             04/08/2021
                                                                                                 Judge’s signature

City and state:                         San Francisco, CA                        Magistrate Judge Jacqueline Scott Corley
                                                                                               Printed name and title
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AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR CRIMINAL COMPLAINT AND
                         ARREST WARRANT

         I, Jeffrey Kim, Special Agent with the Federal Bureau of Investigation (“FBI”), being

 duly sworn, hereby declare as follows:

                                        INTRODUCTION
         1.    I submit this affidavit in support of an application under Rule 4 of the

Federal Rules of Criminal Procedure for a criminal complaint and arrest warrant

authorizing the arrest of MARK DAVID ANDERSON (“ANDERSON”) for

violating Title 18, United States Code, Sections 2113(a) and (d), armed bank robbery

on November 7, 2020.

                                  SOURCES OF INFORMATION

         2.    The facts and information set forth in this affidavit are based on my

personal observations, review of records and images, my training and experience, and,

as specifically attributed below, information obtained from law enforcement officers

and witnesses. To the extent that any information in the affidavit is not within my

personal knowledge, it has been made available to me through reliable law enforcement

sources, and I believe such information to be true.

         3.       Because this affidavit is submitted for the limited purpose of demonstrating

probable cause for the issuance of a criminal complaint and arrest warrant, I have not

included each and every fact known to me concerning the investigation. Rather, I have set

forth only the facts necessary to establish probable cause that violation of the federal law

identified above has occurred.

         4.       Where statements made by other individuals (including other special agents and

law enforcement officers) are referenced in this affidavit, such statements are described in sum

and substance and in relevant part. Similarly, where information contained in reports and other

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documents or records are referenced in this affidavit, such information is also described in sum

and substance and in relevant part.

                         AGENT'S BACKGROUND AND EXPERTISE

           5.      I am an “investigative or law enforcement officer of the United States”

within the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of

the United States who is empowered by law to conduct investigations of, and to make

arrests for, offenses enumerated in Title 18, United States Code, Section 2516.

           6.      I have been employed as a Special Agent with the FBI for approximately

eight years. I have completed FBI Special Agent training at the FBI Academy in Quantico,

Virginia, and have completed training in various areas, including but not limited to criminal

investigative techniques, financial investigations and money laundering, undercover

operations, electronic and physical surveillance procedures, criminal law, among other

areas. I have also spoken to, and worked with, more experienced federal, state, and local

law enforcement agents and officers. I am currently assigned to the San Francisco Field

Division, where my responsibilities include, among other things, conducting investigations

into violations of federal criminal law, including bank robberies, in violation of 18 U.S.C. §

2113.

                                       APPLICABLE LAW

           7.      Title 18 United States Code § 2113(a) prohibits a defendant from taking or

attempting to take “by force and violence, or by intimidation” any money, property, or other

thing of value “belonging to, or in the care, custody, control, management, or possession of,

any bank . . . .” For the purposes of this statute, a “bank” includes any institution the deposits

of which are insured by the Federal Deposit Insurance Corporation (“FDIC”). 18 U.S.C. §

2113(f).

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         8.      Title 18 United States Code § 2113(d) imposes a higher maximum

imprisonment penalty for anyone who, in committing, or in attempting to commit, any

offense defined in 18 U.S.C. § 2113(a) “assaults any person, or puts in jeopardy the life of

any person by the use of a dangerous weapon or device.” A weapon or device is dangerous if

it is something that creates a greater apprehension in the victim and increases the likelihood

that police or bystanders would react using deadly force. Ninth Circuit Model Crim. Jury

Instr. 8.162 (citing United States v. Pike, 473 F.3d 1053, 1060 (9th Cir. 2007).

                        FACTS ESTABLISHING PROBABLE CAUSE

 A.      November 7, 2020 Wells Fargo Bank Robbery

         9.       On November 7, 2020, at approximately 10:00 a.m., the suspect entered

the Wells Fargo Bank located at 1160 Grant Avenue, in San Francisco, California in the

Northern District of California.

         10.      The suspect briefly waited in line then approached a bank teller

(“Victim 1”) at the teller window. The suspect brandished what appeared to be a knife

with a black handle, briefly placing it on the teller counter then back into his pocket, and

loudly demanded Victim 1 give the suspect money without the dye pack. Victim 1

complied. Victim 1 placed the bank’s electronic GPS tracker in the money given to the

suspect. The suspect took the money which contained the electronic GPS tracker,

placed it inside a black backpack, and exited the bank.

         11.      The bank’s surveillance system captured the incident on video. The

surveillance showed the suspect, an older white male, approximately 6’0” in height,

with a heavy overweight build, with longer brown colored hair protruding from a light

red colored baseball cap the suspect wore. The suspect also wore a facial mask that

partially covered his face, black sunglasses, a yellow jacket, a white t-shirt with a green

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logo that depicted the number “25” in front, dark colored pants, and black athletic

shoes. The suspect carried a black backpack and a retrieved a knife from the right pocket

of his yellow jacket.




 Image 1: Still photo from the Wells Fargo Bank surveillance camera       Image 2: Still photo from the Wells Fargo Bank
 footage showing the suspect waiting in line (November 7, 2020)           surveillance camera footage showing the suspect placing
                                                                          the knife on Victim 1’s counter (November 7, 2020)




           12.       The San Francisco Police Department (“SFPD”) arrived and took the

report from Victim 1 who relayed the above information and stated in sum and

substance, that they gave the suspect the money because they were shaken and fearful

for their safety.

           13.       The loss amount calculated by the bank following the robbery was

approximately $605 which included bait money. At the time of the robbery, the Wells

Fargo Bank and its deposits were insured by the Federal Deposit Insurance

Corporation.




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   B.         November 9, 2020 East West Bank Robbery

              14.     On November 9, 2020, at approximately 2:35 p.m., the suspect entered the East

 West Bank located at 900 Kearny Street, in San Francisco, California in the Northern District

 of California.

              15.     The suspect immediately approached a teller station occupied by a bank teller

 (“Victim 2”) and placed an orange bag on the counter. The suspect then told Victim 2 to give

 him 5 and 10 dollar bills. The suspect also stated that he didn’t have a gun, but that someone

 outside did have a gun. Victim 2 complied. The suspect stated that the money wasn’t

 enough and asked for me. Victim 2 placed additional money on the counter. The suspect

 took the money, placed it into the bag, and exited the bank.

              16.     The bank’s surveillance system captured the incident on video. The

 surveillance showed the suspect, an older white male, approximately 6’0” in height, with a

 heavy overweight build, and with longer brown colored hair that protruded from a bright

 orange colored beanie the suspect wore. The suspect also wore a light blue facial mask with

 small logos that partially covered his face, a green and black long sleeve plaid button up shirt,

 a black shirt with a grey colored stripe and an Adidas logo in front, dark colored pants, and

 black athletic shoes. The suspect carried a bright orange bag which he used to put the money

 inside.




Image 3: Still photo from the East West Bank surveillance camera footage
      showing the suspect interacting with Victim 2 (November 9, 2020)




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            17.   The SFPD arrived and took the report from Victim 2 who relayed the above

information and stated in sum and substance, that while the suspect spoke nicely, Victim 2

was fearful for their safety.

            18.   The loss amount calculated by the bank following the robbery was

approximately $335. At the time of the robbery, the East West Bank and its deposits were

insured by the Federal Deposit Insurance Corporation

            19.   In my opinion, the physical appearance of the suspect from the November 9,

2020 East West Bank incident appeared very similar to the suspect from the November 7,

2020 Wells Fargo bank incident.

    C.      Investigation and Identification of Mark Anderson

            20.   On November 9, 2020, the SFPD provided an image of the suspect from the

November 7, 2020 incident to a building manager who maintained numerous commercial

business security cameras along the Broadway and Columbus street corridor near the vicinity

of the Wells Fargo Bank. That same day, the building manager notified the SFPD that the

suspect was captured by their security cameras taking off his hat, sunglasses, and yellow

jacket and stuffing the items into his backpack as he crossed Columbus Avenue. 1 The

manager provided a video still of the suspect with his face mask removed to the SFPD, who

then forwarded the still to me. The video still captured the suspect’s face and hair. The

suspect was wearing the identical white t-shirt with a green logo that depicted the number

“25” in front with his facial mask removed exposing his entire face. Based upon the video

still and having previously reviewed the Wells Fargo Bank surveillance camera footage, I

believed the individual in the still was the suspect who robbed the Wells Fargo Bank.




1   Columbus Avenue is adjacent to the Wells Fargo Bank where the November 7, 2020 incident occurred.
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                                                                   Image 5: Still photo from commercial building video surveillance showing the
                                                                         suspect after removing his mask and jacket (November 7, 2020)




Image 4: Still photo from the Wells Fargo Bank surveillance camera footage
                  showing the suspect (November 7, 2020)


              21.      On November 10, 2020, I requested and received the precise GPS geolocation

  data. The graphics depicted the location and route of the electronic tracker that the suspect

  took following the Wells Fargo Bank incident on November 7, 2020. The geolocation

  information showed that the tracker activated during the Wells Fargo Bank incident at

  10:04:34 a.m. and remained active—providing geolocation data or “pings”—until it stopped

  around 10:13:22 a.m. the same day at 1023 Montgomery Street, San Francisco.

              22.      Using this information, I conducted a google map search of 1023 Montgomery

  Street, San Francisco, California which revealed that address as the Golden Eagle Hotel. The

  hotel’s entrance is immediately around the corner at 402 Broadway Street, San Francisco,

  California. The Golden Eagle Hotel is approximately two blocks away from both the Wells

  Fargo Bank from the November 7, 2020 incident and the East West Bank from the November

  9, 2020 incident.




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                                      Image 6: GPS geolocation data map




                             Image 7: Google map of both banks and Golden Eagle Hotel




        23.   On November 12, 2020, having obtained video stills of the suspect and his

face, as well as the precise geolocation tracker data which captured the suspect’s route of

travel up until the pings stopped at the hotel, I conducted a neighborhood canvass near the

Golden Eagle Hotel. As I approached the vicinity of the hotel, I observed an older white


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male, with a heavy build, and longer brown hair being escorted by San Francisco Emergency

Medical Technicians (“EMTs”) and SFPD officers. In my opinion, this individual’s

appearance matched that of the suspect in both bank robberies. After speaking with the

SFPD officers on scene, I learned this individual to be MARK ANDERSON.

        24.     I took pictures of ANDERSON after officers secured ANDERSON within the

ambulance. I observed that apart from the near identical resemblance to the bank robbery

suspect, ANDERSON wore the identical mask and a similar green and black plaid button up

shirt worn during the East West Bank incident on November 9, 2020. I thereby concluded

that ANDERSON was the bank robbery subject.

O




     Image 8: Photo of MARK ANDERSON (November 12, 2020)       Image 9: Photo of the knife recovered from ANDERSON’s hotel room (November
                                                               12, 2020)


        25.     In furtherance of the investigation, I contacted the Residential Manager at the

Golden Eagle Hotel. The manager stated that ANDERSON had been staying at the hotel and


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provided the hotel’s registration card containing ANDERSON’s California Driver’s License

number and date of birth. The manager and I reviewed the Hotel’s security camera footage

the day of the November 7, 2020 and November 9, 2020 incidents. On November 7, 2020,

the hotel’s exterior entry, internal stairwell, and lobby cameras captured ANDERSON

arriving to the Hotel wearing the identical white shirt with a green logo that depicted the

number “25” and carrying the black backpack utilized during the Wells Fargo Bank incident.

ANDERSON is captured retrieving the identical yellow jacket, light red colored baseball cap,

and black sunglasses from the black backpack. ANDERSON then enters the Hotel without a

mask or head covering. The security cameras time stamps showed that ANDERSON arrived

to the hotel several minutes after the Wells Fargo Bank incident.

 Image 10: Still photo of ANDERSON entering the Golden Eagle Hotel
 on November 7, 2020 wearing & retrieving the identical clothing
 worn during the Wells Fargo Bank Robbery (November 7, 2020)




                                                                     Image 11: Still photo of ANDERSON inside the Golden Eagle Hotel on November 7,
                                                                     2020 without a mask & wearing the identical shirt worn during the Wells Fargo
                                                                     Bank Robbery (November 7, 2020)




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        26.    Similarly, these cameras also captured ANDERSON arriving to the hotel on

November 9, 2020, wearing an Adidas shirt, light blue face mask, and carrying an orange bag

similar to the suspect from the East West Bank incident. The security cameras time stamps

showed that ANDERSON arrived at the hotel less than 15 minutes after the East West Bank

incident.




                                                             Image 12: Still photo of ANDERSON walking up the
                                                             Golden Eagle Hotel stairwell on November 9, 2020
                                                             carrying the orange bag & wearing the identical mask &
                                                             Adidas shirt worn during the East West Bank Robbery
                                                             (November 9, 2020)




 D.     Search and Arrest of Mark Anderson

        27.    EMTs detained and transported ANDERSON to San Francisco General

Hospital. Prior to being transported to the hospital, ANDERSON packed a suitcase which

accompanied him to the hospital. SFPD officers responded to the hospital and searched the

suitcase. Officers recovered and seized, among other things, an orange beanie and a long

sleeve black Adidas shirt believed to be worn during the East West Bank incident. As a

result of the identification, the SFPD arrested ANDERSON for the Wells Fargo Bank and

East West Bank incidents.

        28.    Following his arrest, officers read ANDERSON his Miranda rights and he
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consented to an interrogation. During the recorded interrogation, ANDERSON confessed to

both the Wells Fargo Bank incident on November 7, 2020, and the East West Bank incident

on November 9, 2020. ANDERSON also identified himself from the security camera stills.

ANDERSON indicated that in the first robbery, he held a knife along the side of his body and

that he never raised it toward the teller. ANDERSON stated that in the second robbery, he

asked for only “fives” and “tens,” because he did not want any bait money.

           29.     ANDERSON voluntarily signed a consent to search form allowing the SPFD to

search his residence at the Golden Eagle Hotel. That same day, the SFPD conducted a search

of ANDERSON’s room at the hotel and found, among other items, the white shirt and the

black sunglasses worn during the Wells Fargo Bank robbery.

Image 13: Photo of the shirt found in ANDERSON’s room (November 12, 2020)




                                                                            Image 14: Photo of the black sunglasses found in
                                                                               ANDERSON’s room (November 12, 2020)




                                                               12
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                       Image 15 &16: Photos of the clothing found in ANDERSON’s suitcase (November 12, 2020)

                                                CONCLUSION

           30.   Based on the information set forth in this affidavit, and my training and

experience, I respectfully submit that there is probable cause to believe that on or about

November 7, 2020, in the Northern District of California, MARK DAVID ANDERSON

committed a violation of Title 18 United States Code Sections 2113(a) and (d), armed bank

robbery.

Dated: April 8, 2021
                                                                             /s/
                                                               _____________________________
                                                               JEFFREY KIM
                                                               Special Agent
                                                               Federal Bureau of Investigation


Sworn to before me over the telephone and signed by me pursuant to Fed.R.Crim.P 4.1 and 4(d)
on this 8th day of April 2021.




THE HONORABLE JACQUELINE SCOTT CORLEY
United States Magistrate Judge


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